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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF MISSISSIPPI
                                     GREENVILLE DIVISION

JASON ALSTON                                                                             PLAINTIFF

VS.                                                       CIVIL ACTION NO. 4:16-CV-245-DMB-JMV

PRAIRIE FARMS DAIRY, INC. d/b/a LUVEL                                                   DEFENDANT

                            DEFENDANT’S OPPOSITION TO PLAINTIFF’S
                             MOTION TO FILE AMENDED COMPLAINT

           Before the court is Plaintiff’s motion to file an amended complaint [Doc. 64]. Defendant

opposes said motion on grounds it is untimely and results in only further delay of these

proceedings.


           This action was filed by Plaintiff on December 13, 2016.1 Now, more than a year after

filing his complaint, he seeks to amend the complaint only after discovery in the case has long

expired and motions for summary judgment have been briefed and responded to by the parties on

the merits of the pending claims. At no point in Plaintiff’s motion does he assert or otherwise

establish that he could not reasonably have raised these claims prior to now.

                   The facts [Plaintiff] seeks to add to his complaint now were
                   available to him previously and he has not shown any reason, other
                   than a misguided attempt at strategy, why he failed to plead them
                   before.


Rosenblatt v. United Way of Great Houston, 607 F.3d 413, 420 (5th Cir. 2010). While delay

alone may not justify denial of a motion to amend, denial of the motion is appropriate where the

delay is undue in that it prejudices the nonmoving party or places an unfair burden on the court.

Mayeaux v. Louisiana Health Service and Indemnity Co., 376 F.3d 420, 427 (5th Cir.2004).

Indeed, “at some point, time delay on the part of a plaintiff can be procedurally fatal.” Smith v.
1
    Based on the court’s case management order, amendments were due April 28, 2017.
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EMC Corp., 393 590, 595 (5th Cir.2004). In such a case, the plaintiff bears the burden of

showing that the delay was “due to oversight, inadvertence, or excusable neglect.” Id. In this

case, Plaintiff fails to provide any explanation for his extreme delay in seeking an amendment at

this late date.

        Plaintiff’s motion to amend should be denied.

                                            RESPECTFULLY SUBMITTED,

                                            /s/ Timothy W. Lindsay_______________
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                               CERTIFICATE OF SERVICE

       I, Timothy W. Lindsay, hereby certify that a copy of the foregoing has been served via

the Court’s Electronic Filing System and via Certified U.S. Mail, which sent notification of such

filing to the following:

       Jason Alston
       223 Third Avenue
       Kosciusko, MS 39090
       Telephone: 662-289-4687

       Pro Se Plaintiff

       On this the 21st day of December, 2017.

                                                    /s/ Timothy W. Lindsay______________
                                                    Timothy W. Lindsay
